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        UNDERWRITERS AT LLOYD'S,
      7 LONDON, SUBSCRIBING TO
        FOLLOW FORM EXCESS LIABILITY
      8 POLICY NO. PH1706285; AND
        CERTAIN UNDERWRITERS AT
      9 LLOYD'S, LONDON, SUBSCRIBING
        TO FOLLOW FORM EXCESS
     10 LIABILITY POLICY NO. PH1706286
     11
                                UNITED STATES DISTRICT COURT
     12
                              CENTRAL DISTRICT OF CALIFORNIA
     13
•
     14
        CERTAIN UNDERWRITERS AT                        Case No.   2:22-cv-3184
     15 LLOYD'S, LONDON, SUBSCRIBING
        TO FOLLOW FORM EXCESS                          COMPLAINT FOR
     16 LIABILITY POLICY NO. PH1706285;                DECLARATORY RELIEF,
        AND CERTAIN UNDERWRITERS                       REIMBURSEMENT AND
     17 AT LLOYD'S, LONDON,                            RESCISSION
        SUBSCRIBING TO FOLLOW FORM
     18 EXCESS LIABILITY POLICY NO.
        PH1706286,
     19
                   Plaintiffs,
     20
     21
        UNIVERSITY OF SOUTHERN
     22 CALIFORrTIA; GEORGE TYNDALL,
        M.D., an individual; and DOES 1
     23 through 10, inclusive,
     24                  Defendants.
     25
     26
     27
     28

          AS37-0000001                                      COMPLAINT FOR DECLARATORY RELIEF,
          14156172.1                                            REIMBURSEMENT AND RESCISSION
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  1                 Plaintiffs, CERTAIN UNDERWRITERS AT LLOYD'S, LONDON,
  2 SUBSCRIBING TO FOLLOW FORM EXCESS LIABILITY POLICY NO.
  3 ~ PH1706285 ("Underwriters 285") and CERTAIN UNDERWRITERS AT
  4 ~ LLOYD'S, LONDON, SUBSCRIBING TO FOLLOW FORM EXCESS
  5 ~ LIABILITY POLICY NO. PH1706286 ("Underwriters 286") (collectively,
  6 ~ "Underwriters") allege their complaint against the UNIVERSITY OF SOUTHERN
  7 ~ CALIFORNIA ("USC"), GEORGE TYNDALL, M.D. ("Tyndall") and DOES 1
   8 through 10, inclusive, (collectively, "Defendants") as follows:
  9                                    JURISDICTION AND VENUE
 10                 1.    Plaintiff, Underwriters 285, is and at all relevant times was an
          ~ insurance syndicate duly organized and existing under the laws of the United
          ~ Kingdom, is domiciled in London, England, and is a citizen of England.
                    2.    Plaintiff, Underwriters 286, is and at all relevant times was an
          ~ insurance syndicate duly organized and existing under the laws of the United
          ~ Kingdom, is domiciled in London, England, and is a citizen of England.
                    3.    Defendant, USC, is a California corporation that has its principal place
 17 ~ of business in Los Angeles County, California, and is a citizen of the State of
 18 California.
 19                 4.    Defendant, Tyndall, is a citizen of the State of California, residing in
 20 ~ Los Angeles County, California.
 21                 5.    This case involves two insurance policies. One of the policies has a
 22 $20,000,000 limit of liability and the other policy has a $10,000,000 limit of
 23 liability. Both policies are in dispute in this case.
 24                 6.    This Court has original jurisdiction pursuant to 28 U.S.C. § 1332(a)
 25 ~ ~ because the dispute is between citizens of a state within the United States and
 26 citizens of a foreign country, and the amount in controversy exceeds $75,000,
 27 exclusive of interest and costs.
 ~f► :j

           AS37-0000001                                          COMPLAINT FOR DECLARATORY RELIEF,
           14156172.1                                    2           REIMBURSEMENT AND RESCISSION
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      1             Venue in this district is appropriate because Defendants reside in this district
      2 and a substantial part of the events giving rise to this action occurred in this district.
      3 28 U.S.C. § 1391(b).
      4                                            PARTIES
      5             7.    Plaintiff, Underwriters 285, is and at all relevant times was an
      6 insurance syndicate duly organized and existing under the laws of the United
      7 Kingdom and registered and licensed to do business in the State of California.
      8 Underwriters 285 is in the business of issuing insurance policies and providing
      9 coverage related to excess liability insurance, among other types of insurance.
     10             8.    Plaintiff, Underwriters 286, is and at all relevant times was an
     11 insurance syndicate duly organized and existing under the laws of the United
     12 Kingdom and registered and licensed to do business in the State of California.
     13 Underwriters 286 is in the business of issuing insurance policies and providing
     14 coverage related to excess liability insurance, among other types of insurance.
~    15'            9.    Defendant, USC, is a California corporation, located at 3551 Trousdale
     16 Parkway, ADM 352, Los Angeles, California 90089.
     17             10.   Defendant, Tyndall, is a natural person and resident of Los Angeles,
     18 California.
     19             11.   The true names and capacities, whether individual, corporate, or
     20 otherwise, of Defendants DOES 1 through 10, are unknown to Underwriters, who
     21 therefore sue said Defendants by such fictitious names. Underwriters are informed
     22 and believe and thereon allege that each of the Defendants sued herein as DOE is
     23 legally responsible in some manner for the events referred to herein. Underwriters
     24 will request leave of this Court to amend their complaint to insert the true names and
     25 capacities of the DOES in place of the fictitious names when the same becomes
     26 known.
     27 ///
     28 ///

           ns37-oo00001                                          COMPLAINT FOR DECLARATORY RELIEF,
           14156172.1                                    3           REIMBURSEMENT AND RESCISSION
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  1                                     INTRODUCTION
  2           12.    By way of this action, Underwriters seek to resolve coverage disputes
  3 ~ under two excess liability insurance policies that Underwriters issued to USC with
  4 ~ respect to underlying federal and state lawsuits filed against USC and Tyndall, as
  5 ~ well as a related settlement arising out of certain underlying lawsuits filed against
  6 them in the United States District Court for the Central District of California and
  7~I ~ consolidated in In Re USC Student Health Center Litigation, Case No. 2:18-cv-
  8 04258-SVW-GJS (the "Federal Settlement"). According to the plaintiffs in the
  9 underlying lawsuits, Tyndall, a gynecologist employed by USC, sexually abused,
 10 molested, assaulted or otherwise acted inappropriately toward them. They also
 11 allege USC ratified and failed to act to protect them by allowing Tyndall to stay in
 12 his position at the Engemann Student Health Center, even though he was unfit to
 13 treat patients (the "Underlying Lawsuits").
 14           13.    Underwriters are not obligated to afford any benefits under the excess
 15 ~ insurance policies to Defendants for the Underlying Lawsuits or the Federal
 16 Settlement because neither constitutes a covered Claim under the excess insurance
 17 policies, as Defendants had knowledge prior to the excess insurance policies'
 18 effective date of facts or circumstances that would cause a reasonable person to
 19 believe that a Claim might be made against them.
 20           14.    USC concealed from Underwriters that it forced Tyndall to resign
 21 ~ following a USC investigation that concluded in January 2017 that Tyndall violated
 22 USC's policies on race and sexual harassment and failed to meet medical standards
 23 in his interactions with patients. Despite USC's knowledge of the complaints and
 24 allegations made against Tyndall by patients, medical assistants and nurses, and
 25 despite its own findings, USC failed to disclose such to Underwriters in violation of
 26 California Insurance Code §§ 330 and 332. Had Underwriters known of the patient
 27 and employee complaints and allegations, as well as USC's investigation and
 28 findings therefrom, Underwriters would not have provided insurance to Defendants

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      14156172.1                                  4           REIMBURSEMENT AND RESCISSION
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      1 on the same terms and would have expressly excluded from coverage claims arising
      2 ~ out of Tyndall's alleged misconduct.
      3            15.   Underwriters are informed and believe Defendants dispute
      4 ~ Underwriters' position and contend that the excess insurance policies afford them
      5 ~ coverage for the Underlying Lawsuits and the Federal Settlement. Underwriters
      6 ~ therefore seek judicial declarations that they are not obligated to provide insurance
      7 ~ benefits to Defendants under the excess insurance policies for the Underlying
      8 Lawsuits or the Federal Settlement, or for any other similar and/or related claims)
      9 that has been or may be asserted in other state or federal lawsuits, or otherwise.
     10            16.   Underwriters 285 also seeks reimbursement from Defendants of its
     11 $20,000,000 payment toward the Federal Settlement, which Underwriters 285 paid
     12 under a full reservation of rights, including the right to reimbursement of non-
     13 covered claims.
~~ 14              17.   Underwriters also seek to rescind the two excess insurance policies that
     15 Underwriters issued to USC.
~    16                               THE INSURANCE POLICIES
     17            18.   Underwriters 285 issued Follow Form Excess Liability Policy No.
     18 ~ PH1706285 to USC for the policy period July 1, 2017 to July 1, 2018, with a limit
     19 of liability of $20,000,000 for each loss or medical incident and an annual aggregate
     20 limit of liability of $20,000,000, in excess of $60,000,000 each loss or medical
     21 ~~ incident and a $70,000,000 annual aggregate limit of liability ("Excess Policy 285").
     22 ~ ~ Attached hereto as Exhibit A, and incorporated herein by this reference, is a copy of
     23 Excess Policy 285.
     24            19.   Underwriters 286 issued Follow Form Excess Liability Policy No.
     25 ~~ PH1706286 to USC for the policy period July 1, 2017 to July 1, 2018, with a limit
     26 of liability of $10,000,000 for each loss or medical incident and an annual aggregate
     27 limit of liability of $10,000,000, in excess of $110,000,000 each loss or medical
     28 incident and a $120,000,000 annual aggregate limit of liability ("Excess Policy

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          14156172.1                                   5          REIMBURSEMENT AND RESCISSION
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  1 1 286"). Underwriters 286 does not bring this action on behalf of Lloyd's Syndicate
  2 1 XL Catlin XLC 2003, which is also a subscriber to Follow Form Excess Liability
  3 Policy No. PH1706286. Attached hereto as Exhibit B, and incorporated herein by
  4 this reference, is a copy of Excess Policy 286.
  5           20.    Excess Policy 285 and Excess Policy 286 shall be collectively referred
  6 to herein as the "Underwriters Policies."
  7           21.    The Underwriters Policies were the first healthcare professional
  8 liability insurance policies that Underwriters issued to USC.
  9           22.    The Underwriters Policies provide in relevant part:
 10                  INSURING AGREEMENTS:
 11                  I -COVERAGE
 12                  The Insurers hereby agree, subject to the limitations, terms
 13                  and conditions hereinafter mentioned, to indemnify the
 14                  Insured for all sums which the Insured shall be obligated
 15                  to pay by reason of the liability caused by or arising out of
 16                  the coverages covered by and as more fully defined in the
 17                  Followed Policy No. issued by BETA Healthcare Group.
 18                                              *~*

 19                  CONDITIONS
 20                  L     MAINTENANCE OF UNDERLYING INSURANCE
 21                  This Policy is subject to the same terms, definitions,
 22                  exclusions, conditions and extensions (except as regards
 23                  the premium, the amount and limits of liability and except
 24                  as otherwise provided herein) as are contained in or as
 25                  may be added to the Followed Policy prior to a claim
 26                  being made hereunder. Provided always that this Policy
 27                  shall not apply until the Underlying Insurers have paid or
 28                  have been held liable to pay the full amount of their

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      14156172.1                                   6           REIMBURSEMENT AND RESCISSION
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       1                  respective Policy liability in accordance with Insuring
       2                  Agreement II.
       3           23.    The Underwriters Policies identify the "Followed Policy Insurer(s)" as
       4 BETA Risk Management Authority and the "Followed Policy No." as HCL-17-807
       5 (the "BETA Policy"). Attached hereto as Exhibit C, and incorporated herein by this
       6! reference, is a copy of the BETA Policy.
       7           24.    Underwriters are informed and believe, and thereon allege, that USC is
       8 and was a Named Member of the BETA Risk Management Authority at all times
       9 relevant to this Complaint.
      10           25.    The BETA Policy provides healthcare entity professional liability
      11 coverage. Section 2 of the BETA Policy, titled HEALTHCARE ENTITY
      12 PROFESSIONAL LIABILITY, states "(This coverage is provided on a claims made
      13 and reported basis)" and provides in relevant part:
      14                  1.    BETArma will pay those sums which the Member
~     15                        is legally required to pay as damages for a Claim
~~    16                        for Bodily Injury, Property Damage or Economic
      17                        Damages arising out of the Member's negligence
      18                        in the rendering of, or failure to render,
      19                        Professional Services:
      20                        A.     on or after the Retroactive Date; and
      21                        B.     at a Covered Location; and provided that
      22                        C.     the Claim is first made against the Member
      23                               during the Contract Period and is reported in
      24                               writing to BETArma as soon as possible
      25                               during the Contract Period but in no event
      26                               later than thirty (30) calendar days after
      27                               termination of the Contract Period.
      28

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           141561721                                     ']          REIMBURSEMENT AND RESCISSION
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       1                  2.   BETArma will pay those sums which the Member
       2                       is legally required to pay as damages for a Claim
       3                       arising from a negligent act, error or omission
       4                       resulting in actual or alleged denial, suspension,
       5                       revocation, termination or limitation of medical staff
       6                       privileges, provided that the effective date of the
       7                       first denial, suspension, revocation, termination or
       8                       limitation of staff privileges that is a basis of the
       9                       Claimant's Claim occurs on or after the
      10                       Retroactive Date. This coverage applies only if the
      11                       Claim is first made against the Member during the
      12                       Contract Period and is reported in writing to
      13                       BETArma as soon as possible during the Contract
~~    14                       Period but in no event later than thirty (30) calendar
~     15                       days after termination of the Contract Period.
      16                       BETArma will defend, but will not indemnify, a
      17                       Claim that is otherwise covered under this Section,
      18                       but alleges an intentional act, error or omission.
      19
      20                  4.   BETArma will pay those sums which the Member
      21                       is legally required to pay as damages for a Claim
      22                       arising out of the following offenses:
      23                       A.     discrimination based upon, without limitation,
      24                              an individual's race, ethnicity, ancestry,
      25                              national origin, citizenship, religion, age, sex,
      26                              sexual orientation or preference, pregnancy,
      27                              preexisting medical condition, physical or
      28                              mental disability or handicap, insurance

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           1x156172.1                                   g            REIMBURSEMENT AND RESCISSION
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       1                              status, economic status or ability to pay for
       2                              medical services; and
       3                        B.    sexual abuse, assault, battery, harassment or
       4                              molestation
       5                        if the Claimant's injury arises out of the Member's
       6                        negligence in rendering of, or failure to render,
       7                        Professional Services on or after the Retroactive
       8                        Date; and at a Covered Location; and provided that
       9                        the Claim is first made against the Member
      10                        during the Contract Period but in no event
      11                        later than thirty (30) calendar days after
      12                        termination of the Contract Period.
      13                        BETArma will defend, but will not indemnify, a
~~    14                        Claim that is otherwise covered under this Section,
      15                        but alleges an intentional act or omission.
      16            26.   The BETA Policy defines Member to include USC and any physician
      17 employed or formerly employed by USC, "but only with respect to his or her legal
      18 liability when acting within the course and scope of his or her duties" to USC and
      19 only to the extent that USC "is permitted or required by law to indemnify him or
      20 her."
      21            27.   The BETA Policy defines a Claim to include a "written demand for
      22 damages," including service of a suit against a Member.
      23            28.   The BETA Policy further provides in Section 1, Paragraph 5 that "[t]wo
      24 or more Claims arising out of a single Occurrence or an act, error, omission or
      25 offense or a series of related Occurrences, acts, errors, omissions or offenses shall
      26 be treated as a single Claim. Occurrences, acts, errors, omissions and offenses are
      27 related if they share a causal connection or have as a common nexus any event or
      28 transaction or series of events or transactions. When two or more Claims are treated

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   1 as a single Claim, the single Claim shall be considered first made when the earliest
   2 ~ of the Claims is first made." However, "no Claim shall be deemed first made
   3 during the Contract Period i£ C. the Claim or incident was reported before the
   4 ~ Effective Date of this Contract to BETArma or to any liability insurer; or D. any
   5 ~ Member had knowledge prior to the Effective Date of facts or circumstances that
   6 ~ would cause a reasonable person to believe that a Claim might be made."
   7            29.   The BETA Policy defines the Contract Period as July 1, 2017 to July
   8 ~ 1, 2018.
   9            30.   The Effective Date of the BETA Policy is July 1, 2017.
  10            31.   The BETA Policy defines Bodily Injury as "bodily injury, sickness or
  11 disease sustained by a person, including death resulting from any of these," and
  12 includes "mental anguish, mental injury or shock sustained by that person as a result
  13 of such bodily injury, sickness or disease."
  14            32.   The BETA Policy defines Economic Damages as "financial loss and
  15 ~ does not include damages arising from Bodily Injury..."
  16            33.   The BETA Policy defines Privacy Breach Wrongful Act as "(a) any
  17 ~ actual or alleged failure to safeguard or to prevent unauthorized access to or use or
  18 disclosure of any Personal Information, including any access, use or disclosure
  19 that exceeds authorization, (b) failure to give notification of an actual or potential
  20 unauthorized access to, or use or disclosure of, any Personal Information."
  21            34.   According to the BETA Policy, "Personal Information includes any
  22 ~ information defined as 'individually identifiable health information,' 'medical
  23 information,' 'personal information' or 'personally identifying information' in the
  24 Health Insurance Portability and Accountability Act of 1996 or the California Civil
  25 Code, as amended from time to time, or in any regulations adopted thereunder."
  26            35.   The BETA Policy defines Professional Services to include "medical,
  27 ~ ~ surgical, dental or nursing or other healthcare services or treatment to a patient,
  28 including custodial care and the furnishing of food or beverages in connection with

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       14156172.1                                  1~           REIMBURSEMENT AND RESCISSION
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        1 the treatment" and "the furnishing or dispensing of drugs, or medical, dental or
        2 surgical supplies or appliances to a patient if the injury occurs after the Member has
        3 relinquished possession thereof."
        4~           36.    Section 7, Paragraph l OD. of the BETA Policy provides that if a Claim
        5 involves both covered and non-covered allegations, theories of recovery or relief,
        6 BETArma shall be responsible only for that portion of the total amount that is
        7 covered.
        8'           37.    Section 6 of the BETA Policy, titled "EXCLUSIONS," provides
        9 "[e]xcept as otherwise provided below, these exclusions apply regardless of whether
       10 any other cause, act, error, omission, event, material or product contributes
       11 concurrently or in any sequence to a Claimant's injury or damage."
       12            38.    Exclusion 1 of the BETA Policy states:
       13                   This Contract does not apply to any Claim for damages
       14                   arising out of the breach of any contract or agreement or
~      15                   liability assumed by the Member under any contract or
~~     16                   agreement, except that:
       17                                               **~

       18
       19                   B.    this exclusion does not apply...for liability
       20                         arising out of a written agreement entered into
       21                         before the Occurrence or offense under which the
       22                         Member assumed the tort liability of others for
       23                         injury to a third person or entity caused by the
       24                         Member's negligence or other fault; and
       25                   C.    this exclusion does not apply...for liability
       26                         the Member would have had in the absence of the
       27                         contract or agreement.
       28

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             141561721                                     11         REIMBURSEMENT AND RESCISSION
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        1           39.    Exclusion 5 of the BETA Policy states:
        2                  This Contract does not apply to any injury that is
        3                  expected or intended by the Member. This
        4                  exclusion does not apply to Bodily Injury resulting
        5                  from the use of reasonable force to protect persons or
        6                  property.
        7           40.    Exclusion 6 of the BETA Policy states:
        8                  Except for the defense of criminal charges as
        9                  provided in Section 2.6, this Contract does not apply
       10                  to any Claim arising from or brought about or
       11                  contributed to by the Member's dishonest, fraudulent,
       12                  criminal or malicious acts or omission, or to acts or
       13                  omissions that an insurer could not indemnify
       14                  under California Insurance Code Section 533.
       15            41.   Exclusion 9 of the BETA Policy states:
~~     16                  This Contract does not apply to any Claim based, in whole
       17                  or in part or directly or indirectly, on, attributable to,
       18                  arising out of, resulting from, or in any way related to any
       19                  actual or alleged violation of any federal, state or other
       20                  statutory or common law (including but not limited to the
       21                  Cartwright Act, California Business &Professions Code §
       22                  16600, et. seq., the Unfair Practices Act, Business &
       23                  Professions Code § 17000, et. seq., and the Unfair
       24                  Competition Act of the State of California, Business &
       25                  Professions Code §§ 17200, et. seq. and 17500, et. seq.
       26                  and Title 15 of the United States Code, all as they may be
       27                  amended from time to time) that prohibits the unlawful
       28                  restraint of trade, business or profession, except any

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            14156172.1                                     j2           REIMBURSEMENT AND RESCISSION
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       1                  liability arising from actions brought against the Member
       2                  by any person or persons alleging the improper or
       3                  unlawful denial or restriction of medical staff privileges or
       4                  alleging the Member's failure to act upon any application
       5                  for such privileges.
       6           42.    Exclusion 12 of the BETA Policy states:
       7                  BETArma will not pay any punitive or exemplary
       8                  damages, fines, penalties, taxes, trebled damages or any
       9                  other measure of damages exceeding actual compensatory
      10                  damages.
      11           43.    Exclusion 16 of the BETA Policy states:
      12                  BETArma will not pay for equitable remedies or the costs
      13                  of complying with equitable remedies, governmental
      14                  requests, directives, orders or recommendations.
~     15                  (Examples of equitable remedies include injunctions,
      16                  restitution, disgorgement, declaratory relief, constructive
      17                  trust, and rescission, reformation or specific performance
      18                  of a contract.)
      19           44.    Exclusion 24 of the BETA Policy states:
      20                  This Contract does not apply to any damages directly or
      21                  indirectly arising out of, resulting from or in any way
      22                  related to any Privacy Breach Wrongful Act.
      23            45.   Section 7 of the BETA Policy provides that "[i]f BETArma pays any
      24 amount in settlement or satisfaction of any Claim...for which BETArma has no
      25 liability under this Contract, the Member shall reimburse BETArma for such
      26 amounts within thirty (30) calendar days of BETArma's request."
      27 ///
      28 ///

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           14156172.E                                   13           REIMBURSEMENT AND RESCISSION
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        1                               FACTUAL ALLEGATIONS
        2 A.        Defendants Were Aware Of Tyndall's Wrongful Conduct Prior To
        3           The July 1, 2017 Effective Date Of The Underwriters Policies
        4           46.    On June 6, 2016, Cindy Gilbert, Nursing Supervisor for USC
        5 Engemann Student Health Center, filed a complaint against Tyndall with USC's
        6 ~ Office of Equity and Diversity ("OED") concerning conduct and comments she
        7 ~ believed constituted sexual harassment. USC launched an investigation, during
        8 ~ which two patients, two nurses and six medical assistants also made similar
        9 complaints.
       10           47.    On June 15, 2016, OED conducted interviews with nurses and medical
       11 assistants from the Student Health Center who were present during Tyndall's patient
       12 examinations. These witnesses advised that Tyndall made inappropriate comments
       13 during examinations that upset patients and resulted in complaints. Additionally,
~~     14 medical assistants who were present during Tyndall's patient examinations reported
       15 concerns about the way he conducted pelvic examinations, including his practice of
       16 digital insertion into the patents' vaginas prior to insertion of a speculum.
       17           48.    During this time period, several photographs of female patients'
       18 ~ genitals were located in Tyndall's office at the Student Health Center, and USC
       19 placed him on paid administrative leave on or about June 17, 2016, pending OED's
       20 investigation.
       21           49.    According to documentation from the United States Department of
       22 ~ Education, Office for Civil Rights ("OCR"), USC's 2016 investigations into the
       23 complaints and allegations against Tyndall were coordinated by USC's Office of
       24 General Counsel.
       25            50.   As part of its investigation, USC retained outside medical review firm,
       26 ~ MDReview, to analyze whether Tyndall's practices constituted the standard of care.
       27 On or about November 30, 2016, MDReview issued its report of its findings to
       28 USC. MDReview concluded that several of Tyndall's practices were not within the

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            iais6i~2.1                                  14          REIMBURSEMENT AND RESCISSION
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   1 standard of care and not medically credible. Furthermore, according to MDReview,
   2 ~ Tyndall "repeatedly exhibits behavior that is unprofessional, inappropriate, andlor
   3 ~ unusual." MDReview's greatest concerns were "the issues with infection control
   4 ~ and inadequate or inappropriate breast, pelvic and colposcopic exams." MDReview
   5 ~ also expressed concern that Tyndall had used a commercial processing lab in New
   6 ~ York, which may have been used to develop film of certain patients' genitalia.
   7             51.   USC's 2016 investigation also documented that Tyndall had been the
   8 ~ subject of a prior OED investigation. Specifically, in June 2013, Dr. Larry
   9 Neinstein, then-Executive Director of the Student Health Center, reported to OED
  10 that several staff members and a student alleged that Tyndall made inappropriate
  11 ~ comments or otherwise made them feel uncomfortable. Dr. Neinstein reported that:
       ~ (1) in 2002, Tyndall insisted that medical assistants remain on the other side of the
       curtain while he examined patients; (2) in 2009, Tyndall complimented a student on
       her pubic hair, and (3) in 2010, a student came forward complaining that Tyndall
       performed a pelvic exam on her in 2003 without wearing gloves.
                 52.   On January 31, 2017, OED issued a report of its investigation,
  17 including its finding that Tyndall violated USC's sexual harassment policy. USC
  f~:~ did not disclose OED's findings to Underwriters.
  19             53.   USC terminated Tyndall's employment on May 16, 2017, and pursuant
  20 to a subsequent separation agreement, Tyndall's employment ended effective June
  21 30, 2017. USC did not disclose Tyndall's termination or the reasons for it to
  22 ~ Underwriters or the public at that time.
  23             54.   On March 9, 2018, over eight months after Tyndall's termination from
  24 USC, USC filed a complaint regarding Tyndall with the Medical Board of
  25 California, alleging professional misconduct.
  26             55.   On May 15, 2018, USC issued its first public statements regarding
  27 ~ Tyndall's alleged misconduct, admitting that in June 2016, OED had launched an
  28 investigation into Tyndall's alleged misconduct.

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   1           56.    On June 11, 2018, OCR announced that it was launching an
   2 ~ investigation into USC's handling of reports of Tyndall's alleged misconduct going
   3 back to 1990, which were not fully investigated by USC until spring 2016 and not
   4 disclosed to OCR during an earlier investigation.
   5           57.    On February 27, 2020, OCR announced the results of its investigation
       and issued a Letter of Finding. OCR concluded that USC systematically failed at
   7 multiple points in time and at multiple levels of responsibility to respond promptly
   8 and effectively to notices of the alleged sexual harassment of patients by Tyndall,
   9 and that USC's failure may have allowed female students to be subjected to
  10 continuing sex discrimination.
  11           58.    On June 26, 2019, Tyndall was arrested and charged in the California
  12 ~ Superior Court for the County of Los Angeles with multiple felony counts of sexual
  13 assault and battery, based on allegations made by several women. Tyndall pled not
  14 guilty and the criminal action is pending.
  15            59.   Prior to USC's first public statements on May 15, 2018 regarding
  16 ~ Tyndall's alleged misconduct, USC had not informed Underwriters of any
  17 complaints, investigations or reports involving Tyndall's alleged misconduct. Nor
  18 did USC inform Underwriters that it placed Tyndall on administrative leave in June
  19 2016 or that it terminated him in June 2017.
  20            60.   Upon information and belief, and at all times relevant hereto,
  21 Defendants believed that they would be sued by Tyndall's former patients if the
  22 complaints and allegations of Tyndall's sexual abuse and other offensive conduct
  23 were disclosed to the public.
  24            61.   During the underwriting for USC's excess liability coverage with
  25 Underwriters for the 2017-2018 policy period, USC concealed from Underwriters
  26 the patient and employee complaints and allegations regarding Tyndall's alleged
  27 misconduct, including complaints of sexual harassment and racial discrimination.
  28

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       ta156172.1                                  1C          REIMBURSEMENT AND RESCISSION
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        1            62.   USC knew or should have known or believed that the complaints and
        2 ~ allegations made against Tyndall would be material to all the insurers from which
        3 ~ USC sought healthcare professional liability coverage, including Underwriters.
        4            63.   USC further knew that it was obtaining healthcare liability coverage on
        5 ~ a claims-made and reported basis and therefore prior incidents that would cause a
        6 ~ reasonable person to believe that a claim might be made against Defendants would
        7', ~ be relevant to an insurer evaluating the risk that a claim would be presented in the
        8 2017-2018 policy period.
        9            64.   Had USC disclosed its knowledge of the facts and circumstances
       10 ~ regarding Tyndall's alleged misconduct described above, Underwriters would not
       11 have provided insurance to Defendants on the same terms and would have expressly
       12 excluded from coverage claims arising out of Tyndall's alleged misconduct.
       13            65.   The patient and employee complaints and allegations made against
~~     14 ~ Tyndall were material to the risk that Underwriters were insuring in providing the
       15 excess healthcare professional liability coverage.
       16            66.   Because USC concealed and did not disclose to the public any
       17 ~ information concerning the patient and employee complaints and allegations made
       18 against Tyndall until May 15, 2018, Underwriters could not have independently
       19 discovered the risk that the complaints and allegations made against Tyndall were
       20 likely to result in claims against Defendants.
       21 B.         The Underlying Lawsuits
       22            67.   Several lawsuits against USC and Tyndall have been filed in the
       23 ~ California Superior Court for the County of Los Angeles and in the United States
       24 District Court for the Central District of California.
       25            1.    State Court Lawsuits
       26            68.   The state-court plaintiffs have asserted various causes of action,
       27 including: sex discrimination (Unruh Civil Rights Act, Bane Act, Ralph Act, Title
       28 ~~ IX), sexual abuse and harassment (Cal. Ed. Code § 220, Cal. Civ. Code §§ 52, 1708,

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            1 Title IX), battery, false imprisonment, gender violence, (Civ. Code § 52.4),
            2 ~ intentional infliction of emotional distress, negligent infliction of emotional distress,
            3 ~ negligence, gross negligence, negligent hiring, negligent training, negligent
            4 ~ supervision, negligent retention, failure to warn, unfair business practices (Bus. &
            5 ~ Prof. Code § 17200 et seq.), intentional misrepresentation, negligent
            6 ~ misrepresentation, constructive fraud and concealment, breach of fiduciary duty,
            7' ratification, and aiding and abetting.
            8           69.    The state-court plaintiffs seek general damages for pain and suffering,
            9 special damages (e.g., lost wages, loss of earning capacity and medical expenses),
           10 punitive and exemplary damages, statutory damages, attorney's fees, costs, interest,
           11 restitution, declaratory relief and injunctive relief.
           12           70.    The state-court plaintiffs allege that Tyndall, while working at the
           13 Student Health Center, used his position of trust and authority to sexually abuse
           14 plaintiffs for no legitimate medical purpose and for no reason other than to satisfy
           15 his own deviant sexual desires. Plaintiffs also allege Tyndall committed acts of
~"'~"~     16 ~ racial discrimination against them.
           17           71.    The state-court plaintiffs also allege that USC received several
                complaints from USC students and employees regarding Tyndall's inappropriate and
           19 harassing sexual behavior dating back to at least 2000, and that USC failed to
           20 address those complaints, failed to take any responsive action, and failed to
           21 implement safeguards to prevent future acts of unlawful sexual abuse and other
           22 offenses by Tyndall. Rather, according to plaintiffs, USC actively and deliberately
           23 concealed Tyndall's sexual abuse and misconduct for years.
           24            72.   The state-court plaintiffs further allege that in or about June 2016, USC
           25 placed Tyndall on administrative leave, and that USC conducted an internal
           26 investigation, which revealed that Tyndall acted unprofessionally and
           27 inappropriately. Plaintiffs also allege USC permitted Tyndall to resign quietly,
           28 without reporting him to law enforcement or medical authorities, all to conceal

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        1 ~ Tyndall's sexual abuse from the public and to protect USC's reputation and financial
        2 coffers.
        3              73.   The state-court plaintiffs further allege that USC-employed chaperones
        4 witnessed Tyndall's sexual abuse of patients, but failed to take appropriate action.
        5              74.   The state-court plaintiffs also allege that USC knew or should have
        6 known that Tyndall had sexually abused students and therefore had a duty to report
        7 these incidents but failed to comply with mandatory reporting laws.
        8              75.   The state-court plaintiffs further allege that USC was negligent in
        G] hiring and retaining Tyndall, and in failing to adequately supervise him.
                       2.    The Federal Class Action
       11 1            76.   Most of the federal lawsuits were filed as putative class actions, and
       12 they were consolidated as In Re USC Student Health Center Litigation, Case No.
       13 2:18-cv-04258-SVW-GJS (the "Federal Class Action").
~~     14              77.   The Federal Class Action plaintiffs likewise alleged that Tyndall had
       15 sexually abused and harassed them while he was working for USC at the Student
       16 Health Center.
       17              78.   The Federal Class Action plaintiffs also alleged that USC received
       18 complaints concerning Tyndall over the years but failed to take appropriate action
       19 .'x and deliberately concealed his conduct.
       20              79.   The operative complaint in the Federal Class Action included several
       21 causes of action against USC, its Trustees and Tyndall, including causes of action
       22 for negligent supervision and retention, Title IX, sexual abuse &harassment (Cal.
       23 Ed. Code § 220), Equity in Higher Education Act § 66250, gender violence (Civ.
       24 Code § 52.4), gross negligence, invasion of privacy, negligent failure to warn, train
       25 or educate, civil battery, intentional infliction of emotional distress, negligent
       26 infliction of emotional distress and ratification.
       27 ///
       28 ///

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        1            80.    The Federal Class Action plaintiffs sought several remedies, including
        2 compensatory damages, punitive damages, attorney's fees and costs, among other
        3 remedies.
        4 C.         The Federal Class Action Settlement
        5            81.    The Federal Class Action resulted in an opt-out settlement on behalf of
        6 a nationwide class. The Court certified the settlement class and approved the
        7 settlement by order entered on February 25, 2020. Under the terms of the Federal
        8 Settlement, USC agreed to pay the settlement class $215,000,000 plus attorney's
        9 fees capped at $25,000,000.
       10            82.    In March 2020, BETArma paid the BETA Policy's per claim limit of
       11 $20,000,000 toward the Federal Settlement.
       12            83.    Underwriters 285 paid Defendants the $20,000,000 limit of liability of
       13 Excess Policy 285 toward the Federal Settlement, subject to a full reservation of
~~     14 rights, including the right to reimbursement of the policy limits.
       15                                FIRST CLAIM FOR RELIEF
~      16      Declaratory Relief —The Underlying Lawsuits And The Federal Settlement
       17                  Are Not Covered Claims Under The Underwriters Policies
       18                                   (Against all Defendants)
       19            84.    Underwriters re-allege and incorporate by reference the allegations set
       20 forth above.
       21            85.    Under the terms of the BETA Policy, which are incorporated into the
       22 Underwriters Policies, coverage under Section 2 is provided on a claims-made and
       23 reported basis. Thus, as a condition of coverage, a Claim against a Member must
       24 be first made during the policy period.
       25            86.    Under the terms of the BETA Policy, which are incorporated into the
       26 Underwriters Policies, no Claim shall be deemed first made during the policy period
       27 if any Member had knowledge prior to the effective date of the BETA Policy (i.e.,
       28

            As3~-000000i                                         COMPLAINT FOR DECLARATORY RELIEF,
            14156172.1                                   20          REIMBURSEMENT AND RESCISSION
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   1 July 1, 2017) of facts or circumstances that would cause a reasonable person to
   2 ~ believe that a Claim might be made.
   3            87.   As alleged above, Defendants knew before July 1, 2017 of complaints
   4 ~ and allegations from patients and employees of Tyndall's sexual harassment and
   5 ~ abuse, and racial discrimination. Prior to that date, USC had already concluded that
   6 ~ Tyndall violated USC's policies against sexual harassment and racial discrimination,
   7~ and terminated his employment with USC. Therefore, Defendants had knowledge
   8 prior to July 1, 2017 of facts or circumstances that would cause a reasonable person
   9 to believe Claims might be made against Defendants based on Tyndall's alleged
  10 misconduct.
  11            88.   Thus, under the terms of the Underwriters Policies, the Claims against
  12 Defendants are deemed to be first made before the July 1, 2017 effective date of the
  13 BETA Policy and the Underwriters Policies, and therefore do not constitute covered
  14 Claims under the Underwriters Policies or the BETA Policy.
  15            89.   Underwriters contend they do not have a duty to defend or indemnify
  16 Defendants in the Underlying Lawsuits or a duty to indemnify them for the Federal
  17 Settlement because neither the Underlying Lawsuits nor the Federal Settlement
  18 constitutes a covered Claim, as Defendants had knowledge prior to July 1, 2017 of
  19 facts or circumstances that would cause a reasonable person to believe Claims
  20 might be made against Defendants based on Tyndall's alleged misconduct.
  21            90.   Upon information and belief, Defendants dispute the contentions
  22 alleged above.
  23            91.   By reason of the foregoing, there now exists an actual, justiciable
  24 ~ controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
  25 Declaratory relief will clarify these duties and obligations and is therefore necessary
  26 to resolve this controversy.
  27            92.   Underwriters seek a judicial declaration that they do not have a duty to
  28 ~ ~ defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify

       AS37-0000001                                         COMPLAINT FOR DECLARATORY RELIEF,
       iai561~2.1                                  2j           REIMBURSEMENT AND RESCISSION
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       1 them for the Federal Settlement because neither the Underlying Lawsuits nor the
       2 ~ Federal Settlement constitutes a covered Claim, as Defendants had knowledge prior
       3 to July 1, 2017 of facts or circumstances that would cause a reasonable person to
       4 believe Claims might be made against Defendants based on Tyndall's alleged
       5 misconduct.
       6                             SECOND CLAIM FOR RELIEF
       7       Declaratory Relief —There Is No Coverage For The Underlying Lawsuits
       8      Or The Federal Settlement Because The Underlying Lawsuits Do Not Seek
       9                      Damages Arising Out Of Professional Services
      10                                  (Against all Defendants)
      11            93.   Underwriters re-allege and incorporate by reference the allegations set
      12 forth above.
      13            94.   The Underwriters Policies incorporate the BETA Policy's definition of
      14 ~ Professional Services, quoted above.
~     15            95.   Underwriters contend they do not have a duty to defend or indemnify
      16 ~ Defendants in the Underlying Lawsuits or a duty to indemnify them for the Federal
      17 Settlement because the Underlying Lawsuits do not seek damages arising out of the
      18i, negligence in the rendering of, or failure to render, a Professional Service, as
      19'. defined in the BETA Policy and incorporated into the Underwriters Policies.
      20            96.   Upon information and belief, Defendants dispute the contentions
      21 ~ alleged above.
      22            97.   By reason of the foregoing, there now exists an actual, justiciable
      23 ~ controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
      24 Declaratory relief will clarify these duties and obligations and is therefore necessary
      25 to resolve this controversy.
      26            98.   Underwriters seek a judicial declaration that they do not have a duty to
      27 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
           them for the Federal Settlement because the Underlying Lawsuits do not seek

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           1a1561n.1                                   22           REIMBURSEMENT AND RESCISSION
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   1 damages arising out of the negligence in the rendering of, or failure to render, a
   2 Professional Service.
   3                               THIRD CLAIM FOR RELIEF
   4        Declaratory Relief —There Is No Coverage For Defendants' Intentional
   5                                    Or Reckless Conduct
   6                                  (Against all Defendants)
   7           99.    Underwriters re-allege and incorporate by reference the allegations set
   8 forth above.
   9           100. Under California statutory and common law, and the terms of the
  10 BETA Policy and the Underwriters Policies, there is no coverage for claims based
  11 on conduct that is intentional, purposeful, knowing or reckless.
  12           101. The Underlying Lawsuits include allegations that Defendants acted
  13 intentionally, purposefully, knowingly, recklessly and otherwise beyond mere
  14 negligence; therefore, Underwriters do not have a duty to defend or indemnify
  15 Defendants in the Underlying Lawsuits or a duty to indemnify them for the Federal
  16 Settlement.
  17           102. Upon information and belief, Defendants dispute the contentions
  18 ~ alleged above.
  19           103. By reason of the foregoing, there now exists an actual, justiciable
  20 controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
  21 Declaratory relief will clarify these duties and obligations and is therefore necessary
  22 to resolve this controversy.
  23            104. Underwriters seek a judicial declaration that they do not have a duty to
  24 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
  25 them for the Federal Settlement to the extent the alleged injuries do not arise out of
  26 the negligence of USC, the Trustees, and/or Tyndall in the rendering of, or failure to
  27 render, Professional Services.
  28

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       14156172.1                                  23          REIMBURSEMENT AND RESCISSION
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   1                              FOURTH CLAIM FOR RELIEF
   2           Declaratory Relief —Insurance Code § 533 Bars Indemnity Coverage
   3                  For The Underlying Lawsuits And The Federal Settlement
   4                                  (Against all Defendants)
   5            105. Underwriters re-allege and incorporate by reference the allegations set
   6 forth above.
   7            106. California Insurance Code § 533 provides: "An insurer is not liable for
       a loss caused by the willful act of the insured..."
                107. The Underwriters Policies incorporate the following BETA Policy
  10 exclusion: "[T]his Contract does not apply...to acts or omissions that an insurer
  11 could not indemnify under California Insurance Code Section 533."
  12            108. Underwriters contend indemnity coverage under the Underwriters
  13 Policies is excluded by operation of California Insurance Code § 533 and the BETA
  14 Policy exclusion incorporating California Insurance Code § 533 to the extent the
  15 Underlying Lawsuit plaintiffs' losses were caused by Defendants' willful acts.
  16            109. Upon information and belief, Defendants dispute the contentions
  17 alleged above.
  18            110. By reason of the foregoing, there now exists an actual, justiciable
  19 controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
  20 Declaratory relief will clarify these duties and obligations and is therefore necessary
  21 to resolve this controversy.
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       as37-000000i                                          COMPLAINT FOR DECLARATORY RELIEF,
       14156172.1                                  24            REIMBURSEMENT AND RESCISSION
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       1           111. Underwriters seek a judicial declaration that they do not have a duty to
       2 indemnify Defendants for the Underlying Lawsuits or the Federal Settlement to the
       3 extent plaintiffs' losses were caused by Defendants' willful acts.
       4                               FIFTH CLAIM FOR RELIEF
       5                  Declaratory Relief — No Coverage For Breach Of Contract
       6                             Or Liability Assumed By Contract
       7                                  (Against all Defendants)
       8           112. Underwriters re-allege and incorporate by reference the allegations set
       9 forth above.
      10            113. Upon information and belief, USC has undertaken a contractual
      11 obligation to defend and/or indemnify Tyndall and the Trustees.
      12            114. Underwriters contend that they do not have a duty to defend or
      13 indemnify Defendants in the Underlying Lawsuits or a duty to indemnify them for
      14 the Federal Settlement under Exclusion 1 of the BETA Policy, which is incorporated
~     15 into the Underwriters Policies, to the extent Defendants' actual or alleged liability
      16 arises out of the breach of any contract or agreement or liability assumed by the
      17 Member under any contract or agreement.
      18            115. Upon information and belief, Defendants dispute the contentions
      19 ~ alleged above.
      20            116. By reason of the foregoing, there now exists an actual, justiciable
      21 controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
      22 Declaratory relief will clarify these duties and obligations and is therefore necessary
      23 to resolve this controversy.
      24            117. Underwriters seek a judicial declaration that they do not have a duty to
      25 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
      26 them for the Federal Settlement to the extent Defendants' actual or alleged liability
      27 arises out of the breach of any contract or agreement or liability assumed by the
      28 ~~ Member under any contract or agreement.

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           14156172.1                                  25          REIMBURSEMENT AND RESCISSION
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   1                               SIXTH CLAIM FOR RELIEF
   2           Declaratory Relief — No Coverage For Expected Or Intended Injury
   3                                  (Against all Defendants)
   4            118. Underwriters re-allege and incorporate by reference the allegations set
   5 forth above.
   6            119. Underwriters contend that they do not have a duty to defend or
   7 indemnify Defendants in the Underlying Lawsuits or a duty to indemnify them for
   8 the Federal Settlement under Exclusion 5 of the BETA Policy, which is incorporated
   9 into the Underwriters Policies, to the extent Defendants intended or expected to
  10 injure any plaintiff in the Underlying Lawsuits.
  11            120. Upon information and belief, Defendants dispute the contentions
       alleged above.
                121. By reason of the foregoing, there now exists an actual, justiciable
       controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
       Declaratory relief will clarify these duties and obligations and is therefore necessary
       to resolve this controversy.
  17            122. Underwriters seek a judicial declaration that they do not have a duty to
  18 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
  19 them for the Federal Settlement to the extent Defendants intended or expected to
  20 injure any plaintiff in the Underlying Lawsuits.
  21                             SEVENTH CLAIM FOR RELIEF
  22         Declaratory Relief — No Coverage For Dishonest, Fraudulent, Criminal
  23                                      Or Malicious Acts
  24                                   (Against all Defendants)
  25            123. Underwriters re-allege and incorporate by reference the allegations set
  26 forth above.
  27            124. Underwriters contend that they do not have a duty to defend or
  28 ~ indemnify Defendants in the Underlying Lawsuits or a duty to indemnify them for

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       iais6i~a.i                                  26          REIMBURSEMENT AND RESCISSION
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       1 1 ~ the Federal Settlement under Exclusion 6 of the BETA Policy, which is incorporated
       2 into the Underwriters Policies, to the extent the actual or alleged liability of
       3 Defendants arises from, was brought about, or was contributed to by their dishonest,
       4 ~ fraudulent, criminal or malicious acts or omissions.
       5           125. Upon information and belief, Defendants dispute the contentions
       6 ~ alleged above.
       7           126. By reason of the foregoing, there now exists an actual, justiciable
       8 controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
       9 Declaratory relief will clarify these duties and obligations and is therefore necessary
      10 to resolve this controversy.
      11           127. Underwriters seek a judicial declaration that they do not have a duty to
~     12 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
      13 them for the Federal Settlement to the extent the actual or alleged liability of
      14 Defendants arises from, was brought about, or was contributed to by their dishonest,
      15 fraudulent, criminal or malicious acts or omissions.
      16                              EIGHTH CLAIM FOR RELIEF
      17           Declaratory Relief — No Coverage For Misconduct Ratified By USC
      18                                  (Against all Defendants)
      19            128. Underwriters re-allege and incorporate by reference the allegations set
      20 forth above.
      21            129. Plaintiffs in the Underlying Lawsuits allege that USC ratified Tyndall's
      22 misconduct, including, but not limited to, his sexual abuse and harassment, battery,
      23 sexual battery, intentional infliction of emotional distress, concealment and fraud.
      24            130. Underwriters contend that they do not have a duty to defend or
      25 indemnify Defendants in the Underlying Lawsuits or a duty to indemnify them for
      26 the Federal Settlement to the extent Defendants ratified Tyndall's alleged
      27 misconduct.
      28

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           iai56i72.1                                  2']         REIMBURSEMENT AND RESCISSION
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   1           131. Upon information and belief, Defendants dispute the contentions
   2 ~ alleged above.
   3           132. By reason of the foregoing, there now exists an actual, justiciable
   4 controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
   5 Declaratory relief will clarify these duties and obligations and is therefore necessary
   6 to resolve this controversy.
   7           133. Underwriters seek a judicial declaration that they do not have a duty to
   8 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
   9 them for the Federal Settlement to the extent Defendants ratified Tyndall's
  10 misconduct.
  11                               NINTH CLAIM FOR RELIEF
  12           Declaratory Relief — No Coverage For Unlawful Restraint Of Trade,
  13                                   Business Or Profession
  14                                  (Against all Defendants)
  15           134. Underwriters re-allege and incorporate by reference the allegations set
  16 forth above.
  17            135. Underwriters contend that they do not have a duty to defend or
  18! indemnify Defendants in the Underlying Lawsuits or a duty to indemnify them for
  19 the Federal Settlement under Exclusion 9 of the BETA Policy, which is incorporated
  20 into the Underwriters Policies, because the actual or alleged liability of Defendants
  21 is based in whole or in part or directly or indirectly on, or attributable to, arising out
  22 of, resulting from, or is related to an actual or alleged violation of federal, state or
  23 other statutory common laws that prohibit the unlawful restraint of trade, business or
  24 profession.
  25            136. Upon information and belief, Defendants dispute the contentions
  26 ~ alleged above.
  27            137. By reason of the foregoing, there now exists an actual, justiciable
       controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.

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       1 ~ Declaratory relief will clarify these duties and obligations and is therefore necessary
       2 ~ to resolve this controversy.
       3             138. Underwriters seek a judicial declaration that they do not have a duty to
       4 ~ defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
       5 ~ them for the Federal Settlement because the actual or alleged liability of Defendants
       6 ~ is based in whole or in part or directly or indirectly on, or attributable to, arising out
       7 ~ of, resulting from, or is related to an actual or alleged violation of federal, state or
       8 other statutory common laws that prohibit the unlawful restraint of trade, business or
       9 profession.
      10                                TENTH CLAIM FOR RELIEF
      11 '                  Declaratory Relief — No Coverage For Punitive Damages
      12                                    (Against all Defendants)
      13             139. Underwriters re-allege and incorporate by reference the allegations set
~~ 14 forth above.
      15              140. Underwriters contend that they do not have a duty to defend or
      16 ~ indemnify Defendants in the Underlying Lawsuits or a duty to indemnify them for
      17 ~ the Federal Settlement under Exclusion 12 of the BETA Policy, which is
      18 incorporated into the Underwriters Policies, to the extent any portion of any
      19 judgment or settlement in the Underlying Lawsuits or the Federal Settlement
      20 constitutes punitive or exemplary damages, fines, penalties, taxes, trebled damages
      21 or any other measure of damages exceeding actual compensatory damages.
      22              141. Upon information and belief, Defendants dispute the contentions
      23 ~ alleged above.
      24              142. By reason of the foregoing, there now exists an actual, justiciable
      25 ~ controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
      26 Declaratory relief will clarify these duties and obligations and is therefore necessary
      27 to resolve this controversy.
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             AS37-0000001                                        COMPLAINT FOR DECLARATORY RELIEF,
             14156172.1                                              REIMBURSEMENT AND RESCISSION
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   1               143. Underwriters seek a judicial declaration that they do not have a duty to
   2 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
   3 them for the Federal Settlement to the extent any portion of any judgment or
   4 settlement in the Underlying Lawsuits or the Federal Settlement constitutes punitive
   5 ~ or exemplary damages, fines, penalties, taxes, trebled damages or any other measure
   6 ~ of damages exceeding actual compensatory damages.
   7                                ELEVENTH CLAIM FOR RELIEF
   8                      Declaratory Relief — No Coverage For Equitable Remedies
   9''~                                   (Against all Defendants)
  10               144. Underwriters re-allege and incorporate by reference the allegations set
  11 forth above.
  12               145. Underwriters contend that they do not have a duty to defend or
  13 ~ indemnify Defendants in the Underlying Lawsuits or a duty to indemnify them for
  14 ~ the Federal Settlement under Exclusion 16 of the BETA Policy, which is
  15 incorporated into the Underwriters Policies, to the extent any portion of any
  16 judgment or settlement in the Underlying Lawsuits or the Federal Settlement
  17 constitutes equitable remedies or the costs of complying with equitable remedies.
  18               146. Upon information and belief, Defendants dispute the contentions
  19 ~ alleged above.
  20               147. By reason of the foregoing, there now exists an actual, justiciable
  21 ~ controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
  22 Declaratory relief will clarify these duties and obligations and is therefore necessary
  23 to resolve this controversy.
  24                148. Underwriters seek a judicial declaration that they do not have a duty to
  25 ~ defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
  26 them for the Federal Settlement to the extent any portion of any judgment or
  27 settlement in the Underlying Lawsuits or the Federal Settlement constitutes
          equitable remedies or the costs of complying with equitable remedies.

          ,as37-000000i                                        COMPLAINT FOR DECLARATORY RELIEF,
          14156172.1                                   30          REIMBURSEMENT AND RESCISSION
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        1                            TWELFTH CLAIM FOR RELIEF
        2                  Declaratory Relief — No Coverage For Breach Of Privacy
        3                                  (Against all Defendants)
        4            149. Underwriters re-allege and incorporate by reference the allegations set
        5 forth above.
        6            150. Plaintiffs in the Underlying Lawsuits allege that Tyndall took
        7 photographs of their naked bodies during his examinations of them and failed to
        8 properly maintain the photographs and/or were taken for his prurient purposes.
        9            151. Underwriters contend that they do not have a duty to defend or
       10 indemnify Defendants in the Underlying Lawsuits or a duty to indemnify them for
       11 the Federal Settlement under Exclusion 24 of the BETA Policy, which is
       12 incorporated into the Underwriters Policies, to the extent the damages sought
       13 directly or indirectly arise out of, result from, or in any way relate to any actual or
~~     14 alleged Privacy Breach Wrongful Act.
       15            152. Upon information and belief, Defendants, and each of them, dispute the
~      16 contentions alleged above.
       17            153. By reason of the foregoing, there now exists an actual, justiciable
       18 controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
       19 Declaratory relief will clarify these duties and obligations and is therefore necessary
       20 to resolve this controversy.
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       22 II///
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            AS37-0000001                                        COMPLAINT FOR DECLARATORY RELIEF,
            14156172.1                                  31          REIMBURSEMENT AND RESCISSION
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        11            154. Underwriters seek a judicial declaration that they do not have a duty to
        2~, defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
        3 them for the Federal Settlement to the extent the damages sought directly or
        4 indirectly arise out of, result from, or in any way relate to any actual or alleged
        5 Privacy Breach Wrongful Act.
        6                            THIRTEENTH CLAIM FOR RELIEF
        7                            Declaratory Relief — Other Insurance
        8                                   (Against all Defendants)
        9             155. Underwriters re-allege and incorporate by reference the allegations set
       10 forth above.
       11             156. Underwriters contend that they do not have a duty to defend or
       12 indemnify Defendants in the Underlying Lawsuits or a duty to indemnify them for
       13 the Federal Settlement to the extent the Defendants have other insurance as defined
       14 by Section 7, Paragraph 14.B of the BETA Policy, which is incorporated into the
       15 Underwriters Policies.
~~     16             157. Upon information and belief, Defendants dispute the contentions
       17 alleged above.
       18             158. By reason of the foregoing, there now exists an actual, justiciable
       19 controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
       20 Declaratory relief will clarify these duties and obligations and is therefore necessary
       21 to resolve this controversy.
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             AS37-0000001                                        COMPLAINT FOR DECLARATORY RELIEF,
             14156172.1                                  32          REIMBURSEMENT AND RESCISSION
     Case 2:22-cv-03184-FMO-PVC Document 1 Filed 05/10/22 Page 33 of 42 Page ID #:33




        1             159. Underwriters seek a judicial declaration that they do not have a duty to
        2 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
        3 them for the Federal Settlement to the extent the Defendants have other insurance as
        4 ~ defined by Section 7, Paragraph 14.B of the BETA Policy.
        SI                          FOURTEENTH CLAIM FOR RELIEF
        6 Declaratory Relief — All Claims Against Defendants Constitute A Single Claim
        7                                    (Against all Defendants)
        8             160. Underwriters re-allege and incorporate by reference the allegations set
        9 forth above.
       10             161. There may be additional lawsuits that have been filed or will be filed in
       11 ~ state and/or federal court based on Tyndall's alleged misconduct described above.
       12             162. Underwriters contend that any claim based in whole or in part on
       13 ~ Tyndall's alleged misconduct, including the Underlying Lawsuits, the Federal
       14 Settlement, and any current or future lawsuit or claim against Defendants constitutes
~      15 a single Claim under the terms of the BETA Policy, which are incorporated into the
~~     16 Underwriters Policies and state in relevant part that: "[t]wo or more Claims arising
       17 out of a single Occurrence or an act, error, omission or offense or a series of related
       18 Occurrences, acts, errors, omissions or offenses shall be treated as a single Claim.
       19 Occurrences, acts, errors, omissions and offenses are related if they share a causal
       20 connection or have as a common nexus any event or transaction or series of events
       21 or transactions. When two or more Claims are treated as a single Claim, the single
       22 Claim shall be considered first made when the earliest of the Claims is first made."
       23             163. Upon information and belief, Defendants, and each of them, dispute the
       24 ~ contentions alleged above.
       25             164. By reason of the foregoing, there now exists an actual, justiciable
       26 ~ ~ controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
       27 Declaratory relief will clarify these duties and obligations and is therefore necessary
       28 to resolve this controversy.

             AS37-0000001                                        COMPLAINT FOR DECLARATORY RELIEF,
             14156172.1                                              REIMBURSEMENT AND RESCISSION
                                                         33
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   1            165. Underwriters seek a judicial declaration that any claim based in whole
   2 ~ or in part on Tyndall's alleged misconduct, including the Underlying Lawsuits, the
   3 ~ Federal Settlement, and any current or future lawsuit or claim against Defendants,
   4 ~ constitutes a single Claim under the terms of the BETA Policy and the Underwriters
   5 Policies.
   6                             FIFTEENTH CLAIM FOR RELIEF
   7,                  Declaratory Relief — No Coverage For Tier One Settlement
   8                                   (Against all Defendants)
   9            166. Underwriters re-allege and incorporate by reference the allegations set
  10 forth above.
  11            167. Underwriters contend that they do not have a duty to indemnify
  12 ~ Defendants for the Tier One compensation paid in the Federal Settlement because
  13 ~ those payments do not arise out of the negligence of Defendants in the rendering of,
  14 or failure to render, Professional Services or because the persons receiving Tier
  15 One compensation did not have Bodily Injury or otherwise present Claims within
  16 the scope of the BETA Policy's insuring clauses, which are incorporated into the
  17 Underwriters Policies.
  18            168. Upon information and belief, Defendants dispute the contentions
  19 ~ alleged above.
  20            169. By reason of the foregoing, there now exists an actual, justiciable
  21 ~ controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
  22 Declaratory relief will clarify these duties and obligations and is therefore necessary
  23 to resolve this controversy.
  24             170. Underwriters seek a judicial declaration that they do not have a duty to
  25 ~ ~ indemnify Defendants for the Tier One compensation paid in the Federal Settlement
  26 because those payments do not arise out of the negligence of Defendants in the
  27 rendering of, or failure to render, Professional Services or because the persons
  28 receiving Tier One compensation did not have Bodily Injury or otherwise present

        AS37-0000001                                        COMPLAINT FOR DECLARATORY RELIEF,
        14156172.1                                  34          REIMBURSEMENT AND RESCISSION
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        1 Claims within the scope of the BETA Policy's insuring clauses, which are
        2 incorporated into the Underwriters Policies.
        3                            SIXTEENTH CLAIM FOR RELIEF
        4      Declaratory Relief — No Coverage For Claims Arising Out Of Defendants'
        5      Conduct Outside The Course And Scope Of Their Employment With USC
        6                                  (Against all Defendants)
        7            171. Underwriters re-allege and incorporate by reference the allegations set
        8 forth above.
        9            172. Underwriters contend that they do not have a duty to defend or
       10 indemnify Defendants in the Underlying Lawsuits or a duty to indemnify them for
       11 the Federal Settlement to the extent the Trustees and/or Tyndall were not acting
       12 within the course and scope of their duties for USC and/or did not qualify as
       13 Members under the BETA Policy or the Underwriters Policies.
~      14            173. Upon information and belief, Defendants dispute the contentions
       15 alleged above.
~~     16            174. By reason of the foregoing, there now exists an actual, justiciable
       17 controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
       18 Declaratory relief will clarify these duties and obligations and is therefore necessary
       19 to resolve this controversy.
       20            175. Underwriters seek a judicial declaration that they do not have a duty to
       21 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
       22 them for the Federal Settlement to the extent the Trustees andlor Tyndall were not
       23 acting within the course and scope of their duties for USC and/or did not qualify as
       24 Members under the BETA Policy or the Underwriters Policies.
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            as37-oo00001                                        COMPLAINT FOR DECLARATORY RELIEF,
            14156172.1                                  35          REIMBURSEMENT AND RESCISSION
       Case 2:22-cv-03184-FMO-PVC Document 1 Filed 05/10/22 Page 36 of 42 Page ID #:36




          1                          SEVENTEENTH CLAIM FOR RELIEF
          2       Declaratory Relief — Underwriters 285 Is Entitled To Recover Settlement
          3                                           Proceeds
          4                                   (Against all Defendants)
          5           176. Underwriters 285 re-alleges and incorporates by reference the
          6 ~ allegations set forth above.
          7            177. Underwriters 285 paid the limits of Excess Policy 285 subject to a full
          8 reservation of rights under the policy and the law, including the right to recover all
          9 amounts that it does not have a duty to pay.
         10            178. Underwriters 285 contends that it is entitled to recover all amounts it
         11 ~ paid in the event an insurer below Underwriters 285 recoups or recovers amounts it
         12 paid toward the underlying limits.
J--~
         13            179. Upon information and belief, Defendants dispute the contentions
         14 alleged above.
         15            180. By reason of the foregoing, there now exists an actual, justiciable
         16 controversy between the parties within the meaning of 28 U.S.C. §§ 2201 and 2202.
         17 Declaratory relief will clarify these duties and obligations and is therefore necessary
              to resolve this controversy.
         19            181. Underwriters 285 seeks a judicial declaration that it is entitled to
         20 recover all amounts it paid in the event an insurer below Underwriters 285 recoups
         21 or recovers amounts it paid toward the underlying limits.
         22                           EIGHTEENTH CLAIM FOR RELIEF
         23                                        Reimbursement
         24                                   (Against all Defendants)
         25            182. Underwriters 285 re-alleges and incorporates by reference the
         26 ~ allegations set forth above.
         27            183. Pursuant to the terms of Excess Policy 285, the BETA Policy and
         28 California law, Underwriters 285 is entitled to reimbursement of its $20,000,000

              AS37-0000001                                         COMPLAINT FOR DECLARATORY RELIEF,
              X4156172.1                                   36          REIMBURSEMENT AND RESCISSION
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   1 payment toward the Federal Settlement under Excess Policy 285, which it paid
   2 ~ under a full reservation of rights, including the right to reimbursement of non-
   3 ~ covered claims. As alleged hereinabove, Underwriters 285 has no indemnity
   4 ~ obligation under Excess Policy 285 for the Federal Settlement because neither the
   5 Federal Settlement nor the lawsuits from which the settlement derived constitutes a
   6 covered Claim under Excess Policy 285.
   7                            NINETEENTH CLAIM FOR RELIEF
   8                                            Rescission
   9                                    (Against all Defendants)
  10 1           184. Underwriters re-allege and incorporate by reference the allegations set
  11 forth above.
                 185. When USC sought excess coverage for the 2017-2018 policy period
         from Underwriters, USC had already completed its investigation of the patient and
         USC-employee complaints and allegations against Tyndall and had found Tyndall
         violated USC's racial and sexual harassment policies.
                  186. Upon information and belief, and at all times relevant hereto, USC
  17 believed that if the complaints and allegations of improper medical care and sexual
  18 and racial harassment were to be disclosed to the public, USC and Tyndall would be
  19 sued by former patients.
  20              187. When USC sought excess coverage for the 2017-2018 policy period
  21 from Underwriters, USC concealed and failed to disclose the patient and employee
  22 complaints and allegations against Tyndall regarding his improper medical care and
  23 sexual and racial harassment in violation of Insurance Code §§ 330 and 332.
  24              188. USC had a duty to disclose to Underwriters facts material to the risk
  25 ~ USC asked Underwriters to insure when it sought coverage.
  26              189. The prior patient and employee complaints and allegations regarding
  27 ~ Tyndall's alleged misconduct, including but not limited to complaints and
  28

         AS37-0000001                                        COMPLAINT FOR DECLARATORY RELIEF,
         14156172.1                                 3']          REIMBURSEMENT AND RESCISSION
         Case 2:22-cv-03184-FMO-PVC Document 1 Filed 05/10/22 Page 38 of 42 Page ID #:38




            1 allegations of Tyndall's sexual abuse of USC students, were material to the risk USC
            2 ~ was asking Underwriters to insure under the Underwriters Policies.
            3~           190. USC knew or should have known or believed the prior patient and
            4 ~ employee complaints and allegations regarding Tyndall's alleged misconduct,
            5 ~ including but not limited to complaints and allegations of Tyndall's sexual abuse of
            6 ~ USC students, were material to the risk USC was asking Underwriters to insure
            7 under the Underwriters Policies.
            8            191. Upon information and belief, USC knew that is was applying for
            9 ~ healthcare professional liability coverage on a claims-made basis and therefore the
           10 incidents that occurred in previous years would be relevant to an insurer that was
           11 evaluating the risk that a claim would be made during the 2017-2018 policy period.
           12            192. Underwriters had no reason to believe USC concealed any facts
           13 material to the risk USC asked Underwriters to insure when USC obtained the
           14 Underwriters Policies.
 ~         15            193. Because USC concealed and did not disclose any information
~""'"~     16 ~ concerning the patient and employee complaints and allegations made against
           17 Tyndall to the public until May 15, 2018, Underwriters could not have
           18 independently discovered the risk that the complaints and allegations made against
           19 Tyndall were likely to result in claims against Defendants.
           20            194. Had Underwriters known of the patient and employee complaints and
           21 ~ allegations and USC's investigation and findings therefrom, Underwriters would not
           22 have provided insurance to Defendants on the same terms and would have expressly
           23 excluded from coverage claims arising out of Tyndall's alleged misconduct.
           24             195. Underwriters are entitled to rescission of Excess Policy 285 and Excess
           25 ~ ~ Policy 286 pursuant to Insurance Code § 330 et. seq. and/or common law.
           26                                   PRAYER FOR RELIEF
           27             WHEREFORE, Underwriters pray for judgment against Defendants as
           28 II follows:

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                 14156172.1                                 3$          REIMBURSEMENT AND RESCISSION
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        1               1.   For a judicial declaration that Underwriters do not have a duty to
        2 ~ defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
        3 ~ them for the Federal Settlement because neither the Underlying Lawsuits nor the
        4 ~ Federal Settlement constitutes a covered Claim, as Defendants had knowledge prior
        5 ~ to July 1, 2017 of facts or circumstances that would cause a reasonable person to
        6 ~ believe a Claim might be made against Defendants based on Tyndall's alleged
        7 misconduct.
        8               2.   For a judicial declaration that Underwriters do not have a duty to
        9 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
       10 them for the Federal Settlement because the Underlying Lawsuits do not seek
       11 damages arising out of the negligence in the rendering of, or failure to render, a
       12 Professional Service.
       13               3.   For a judicial declaration that Underwriters do not have a duty to
~~     14 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
       15 them for the Federal Settlement to the extent the alleged injuries do not arise out of
       16 the negligence of USC, the Trustees, and/or Tyndall in the rendering of, or failure to
       17 render, Professional Services.
       18               4.   For a judicial declaration that Underwriters do not have a duty to
       19 ~ indemnify Defendants for the Underlying Lawsuits or the Federal Settlement to the
       20 extent the underlying plaintiffs' losses were caused by Defendants' willful acts.
       21               5.   For a judicial declaration that Underwriters do not have a duty to
       22 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
       23 them for the Federal Settlement to the extent Defendants' actual or alleged liability
       24 arises out of the breach of any contract or agreement or liability assumed by the
       25 Member under any contract or agreement.
       26               6.   For a judicial declaration that Underwriters do not have a duty to
       27 ~ ~ defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify


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            '~ 14156172.1
                                                          39           REIMBURSEMENT AND RESCISSION
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       1 ~ them for the Federal Settlement to the extent Defendants intended or expected to
       2 injure any plaintiff in the Underlying Lawsuits.
       3           7.     For a judicial declaration that Underwriters do not have a duty to
       4 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
       5 ~ them for the Federal Settlement to the extent the actual or alleged liability of
       6 ~ Defendants arises from, was brought about, or was contributed to by their dishonest,
       7 ~ fraudulent, criminal or malicious acts or omissions.
       8           8.     For a judicial declaration that Underwriters do not have a duty to
       9 ~ defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
      10 them for the Federal Settlement to the extent Defendants ratified Tyndall's
      11 misconduct.
      12           9.     For a judicial declaration that Underwriters do not have a duty to
      13 ~ defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
      14 them for the Federal Settlement because the actual or alleged liability of Defendants
~     15 is based in whole or in part or directly or indirectly on, or attributable to, arising out
      16 of, resulting from, or is related to an actual or alleged violation of federal, state or
      17 other statutory common laws that prohibit the unlawful restraint of trade, business or
      18 profession.
      19            10.   For a judicial declaration that Underwriters do not have a duty to
      20 ~ defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
      21 them for the Federal Settlement to the extent any portion of any judgment or
      22 settlement in the Underlying Lawsuits or the Federal Settlement constitutes punitive
      23 or exemplary damages, fines, penalties, taxes, trebled damages or any other measure
      24 of damages exceeding actual compensatory damages.
      25            11.   For a judicial declaration that Underwriters do not have a duty to
      26 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
      27 them for the Federal Settlement to the extent any portion of any judgment or
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           aS37-0000001                                         COMPLAINT FOR DECLARATORY RELIEF,
           14156172.1                                  40           REIMBURSEMENT AND RESCISSION
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   1 ~ settlement in the Underlying Lawsuits or the Federal Settlement constitutes
   2 ~ equitable remedies or the costs of complying with equitable remedies.
   3            12.   For a judicial declaration that Underwriters do not have a duty to
   4 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
   5 them for the Federal Settlement to the extent the damages sought directly or
   6 indirectly arise out of, result from, or in any way relate to any actual or alleged
   7 Privacy Breach Wrongful Act.
   8            13.   For a judicial declaration that Underwriters do not have a duty to
   9 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
  10 them for the Federal Settlement to the extent the Defendants have other insurance as
  11 defined by Section 7, Paragraph 14.B of the BETA Policy.
  12            14.   For a judicial declaration that any claim based in whole or in part on
  13 Tyndall's alleged misconduct, including the Underlying Lawsuits, the Federal
  14 Settlement, and any current or future lawsuit or claim against Defendants,
  15 constitutes a single Claim under the terms of the BETA Policy and the Underwriters
  16 Policies.
  17            15.   For a judicial declaration that Underwriters do not have a duty to
  18 indemnify Defendants for the Tier One compensation paid in the Federal Settlement
  19 because those payments do not arise out of the negligence of Defendants in the
  20 rendering of, or failure to render, Professional Services or because the persons
  21 receiving Tier One compensation did not have Bodily Injury or otherwise present
  22 Claims within the scope of the BETA Policy's insuring clauses, which are
  23 incorporated into the Underwriters Policies.
  24            16.   For a judicial declaration that Underwriters do not have a duty to
  25 defend or indemnify Defendants in the Underlying Lawsuits or a duty to indemnify
  26 them for the Federal Settlement to the extent the Trustees and/or Tyndall were not
  27 acting within the course and scope of their duties for USC and/or did not qualify as
  28 Members under the BETA Policy or the Underwriters Policies.

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       14156172.1                                  41           REIMBURSEMENT AND RESCISSION
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       1              17.    For a judicial declaration that Underwriters 285 is entitled to recover all
       2 amounts it paid in the event an insurer below Underwriters 285 recoups or recovers
       3 amounts it paid toward the underlying limits.
       4              18.    For reimbursement from Defendants of the $20,000,000 that
       5 Underwriters 285 paid toward to Federal Settlement under a full reservation of
       6 rights.
       7              19.    For rescission of Excess Policy 285 and Excess Policy 286.
       8              20.    Underwriters' costs of suit incurred in this action.
       9              21.    For pre- and post judgment interest.
      10              22.    For such other and further relief as the Court deems proper.
      11
~     12 Dated: May 10, 2022                         HAIGHT BROWN &~BONESTEEL LLP
      13
      14                                             I~
~     15
                                                          Gary L. LaHendro v
      16                                                  Attorneys for Plaintiffs, CERTAIN
      17                                                  UNDERWRITERS AT LLOYD'S,
                                                          LONDON, SUBSCRIBING TO FOLLOW
      18                                                  FORM EXCESS LIABILITY POLICY
      19                                                  NO. PH1706285; AND CERTAIN
                                                          UNDERWRITERS AT LLOYD'S,
      20                                                  LONDON, SUBSCRIBING TO FOLLOW
      21                                                  FORM EXCESS LIABILITY POLICY
                                                          NO. PH1706286
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              14156172.1                                                REIMBURSEMENT AND RESCISSION
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